                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA

RALEIGH WAKE CITIZENS ASSOCIATION,               )
et al.                                           )
                                                 )
                      Plaintiffs,                )
                                                 )             No. 5:15-cv-156
              v.                                 )
                                                 )
WAKE COUNTY BOARD OF ELECTIONS,                  )
                                                 )
                      Defendant.                 )


CALLA WRIGHT, et al.                      )
                                          )
                  Plaintiffs,             )
                                          )
            v.                            )                    No. 5:13-cv-607
                                          )
STATE OF NORTH CAROLINA, et al.           )
                                          )
                  Defendant.              )
__________________________________________)


                                         ORDER

       THIS MATTER comes before the Court on Defendant’s Unopposed Motion to Extend

Time. FINDING good cause for the Motion, the Court hereby GRANTS Defendant’s Motion and

ORDERS that Defendants have to and including 8:00 p.m. on August 8, 2016, to file a response

to this Court’s August 7, 2016 Order.


       SO ORDERED. This the 8th day of August, 2016.




                                                 James C. Dever III
                                                 Chief United States District Judge




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